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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

   IN RE:                                         *           NO. 23-10223

   KATHLEEN M. SCHROEDER                          *           SECTION: A
       Debtor
                                                  *           CHAPTER 7

                                        *         *           *

   KATHLEEN M. SCHROEDER                          *           ADVERSARY NO.
       Plaintiff
                                                  *           23-01009
                  v.
                                                  *
   UNITED STATES DEPARTMENT OF
   EDUCATION, NELNET SERVICING, LLC *
   and NAVIENT SOLUTIONS, LLC
        Defendants                  *

                                        *         *           *


                            STIPULATION TO EXTEND DEADLINES

          Debtor/Plaintiff, Kathleen M. Schroeder, commenced this proceeding on May 5, 2023.

   Plaintiff seeks a judgment declaring student loans owed to the United States Department of

   Education (“DOE”) dischargeable under 11 U.S.C. § 523(a)(8).       On November 17, 2022, the

   United States Department of Justice (“DOJ”), in coordination with DOE, promulgated guidance

   with respect to proceedings brought pursuant to 11 U.S.C. § 523 (a) (8) (the “Guidance”).

          In order to accommodate the Guidance and the processes contemplated thereby, the parties

   hereby stipulate and agree as follows:

          1. The Guidance appears to apply to this adversary proceeding;




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           2. This action constitutes one in which this court may enter final orders and judgment,

                 and the parties consent to this court’s exercise of jurisdiction and entry of final orders

                 or judgment;

           3. The deadline by which DOE must answer or otherwise respond to Plaintff’s complaint,

                 June 15, 2023, be and is hereby extended by 120 days, to October 13, 2023;

           4. The need to afford the parties time to comply with the Guidance constitutes good cause

                 for delaying the issuance of a scheduling order beyond the deadline set forth in Civil

                 Rule 16(b) (2), which applies in this proceeding pursuant to Bankruptcy Rule 7016.

   The parties respectfully request that the foregoing stipulation be approved and made an order of

   this court.




                                                       Respectfully submitted,

                                                       DUANE A. EVANS
                                                       UNITED STATES ATTORNEY

                                                       /s/Glenn K. Schreiber
                                                       GLENN K. SCHREIBER
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                                                       Attorney for Defendant




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                                                   /s/ Rachel Thyre Vogeltanz
                                                   Rachel Thyre Vogeltanz
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                                                   Fax: (985) 302-0972
                                                   rachel@rachel.law

                                                   Attorney for Plaintiff




                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of June, 2023, a copy of the foregoing

   STIPULATION TO EXTEND DEADLINES was filed with the Clerk of Court by using the

   CM/ECF system which will send a notice of electronic filing to all parties of record.




                                                   /s/ Glenn K. Schreiber
                                                   GLENN K. SCHREIBER
                                                   Assistant United States Attorney




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